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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                           :
                                                    :
                                                    :
                         PLAINTIFF,                 :
                                                    :
                v.                                  :    CASE NO. 87-cr-40070-JPG
                                                    :
EUGENE FISCHER,                                     :
                                                    :
                                                    :
                         DEFENDANT.                 :

           MEMORANDUM AND ORDER APPROVING RENEWAL OF LIENS
                  WITH RESPECT TO EUGENE FISCHER

Gilbert, District Judge:

        The Court hereby considers the government’s Motion to Renew Monetary Forfeiture

Judgment With Respect to Eugene Fischer (Doc. 961). The government asks the Court to renew the

criminal forfeiture judgment against Fischer pursuant to 28 U.S.C. § 3201(c)(2), the statutory

provision allowing approval of renewal of judgment liens in civil cases. Fischer has responded to

the motion (Doc. 963) arguing that this issue is not governed by 28 U.S.C. § 3201(c)(2) but by 18

U.S.C. § 3613, which describes civil remedies for satisfaction of an unpaid fine. He also argues the

Court has no jurisdiction to reopen the criminal judgment in this case.

        Fischer’s opposition rests on a fundamental misunderstanding of the distinction between

forfeitures and fines. He cites to the statute governing collection of fines, that is, debts to the United

States created by virtue of a criminal judgment. Collection of such debts are governed by 18 U.S.C.

§ 3613. Forfeitures, on the other hand, are not debts to the United States but actual transfers of

ownership of property to the United States. Such transfers occur “upon the commission of the act

giving rise to forfeiture under this section.” 21 U.S.C. § 853(c); see United States v. Frykholm, 362

F.3d 413, 415 (7th Cir. 2004). The criminal judgment against Fischer just confirmed that the
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transfer had already occurred at the time of the crime. See Frykholm, 362 F.3d at 415. Thus, the

United States had acquired vested titled in the $30,000,000.00 in proceeds from Fischer’s crimes

since those crimes were committed and has simply been unable to seize that property or substitute

property since then. Nothing cited by Fischer provides a limitation on the period to seize the

forfeited property in which the government has vested title or substitute property.

       The Court is not completely convinced that 28 U.S.C. § 3201 applies to liens resulting from

criminal forfeiture judgments. However, it is mindful that some civil forfeiture provisions do apply

in the criminal forfeiture context. See 21 U.S.C. § 853(j) (applying civil forfeiture rules of 21 U.S.C.

§ 881(d) to the extent not inconsistent with 21 U.S.C. § 853). Should the limitation on the duration

of liens resulting from criminal forfeitures under 28 U.S.C. § 2301(c) and the optional renewal

process be two of those provisions – and neither party has made a convincing case that they are or

are not – Court approval under 28 U.S.C. § 3201(c)(2)(B) of the renewal of the judgment lien would

be appropriate. In an abundance of caution, the Court will give its approval.

       The Court is careful to note that it is not renewing the judgment itself; no party has cited any

authority for such renewal of a criminal judgment and Fischer is right to question the Court’s

jurisdiction to do so. It simply expresses its approval under 28 U.S.C. § 3201(c)(2)(B) of the

renewal of liens should the government choose to file notices of renewal in the appropriate

jurisdictions pursuant to 28 U.S.C. § 3201(c)(2)(A) before the expiration of the 20-year period

referenced in 28 U.S.C. § 3201(c)(1), should that 20-year period even apply.

       For the foregoing reasons, the Court GRANTS the government’s motion (Doc. 961) and

APPROVES the renewal of liens stemming from the criminal judgment of forfeiture in this case

for an additional 20 years. The Court, in entering this order, is not making a finding, either


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expressly or by implication, that there is any time limit in which the United States must move to

forfeit substitute property pursuant to Rule 32.2(e) of the Federal Rules of Criminal Procedure and

21 U.S.C. § 853(p).

IT IS SO ORDERED.
Dated: November 5, 2008

                                                            s/ J. Phil Gilbert
                                                            J. PHIL GILBERT
                                                            United States District Judge




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